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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MARYLAND
                                    Greenbelt Division

Kilmar Armando Abrego Garcia, et al.,

                       Plaintiffs,

v.                                                  Case No.: 8:25-CV-00951-PX
                                                    REDACTED VERSION
Kristi Noem, et al.,

                       Defendants.


               Plaintiffs’ Memorandum of Law Regarding Privilege Assertions
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                                             Introduction

        A full month has passed since the United States Supreme Court found that Kilmar Armando

Abrego Garcia’s “removal to El Salvador was . . . illegal” and affirmed that this Court “properly

require[d] the Government to ‘facilitate’ Abrego Garcia’s release from custody in El Salvador and

to ensure that his case is handled as it would have been had he not been improperly sent to El

Salvador.” Noem v. Abrego Garcia, 145 S. Ct. 1017, 1018 (2025). Yet Abrego Garcia remains in

El Salvador, and the Government has produced no evidence showing that it has made the slightest

effort to facilitate his release. To the contrary, the President has insisted on national television that,

although he has the power to bring Abrego Garcia back, he won’t, because his lawyers have

advised him against it.1 Other cabinet members, including the Secretary of Homeland Security,

have likewise testified before Congress that “there is no scenario where Abrego Garcia will be in

the United States again.”2 Meanwhile, in sealed, ex parte proceedings, the Government

presumably has told this Court the opposite, as it has repeatedly sought to draw out this litigation.

        Plaintiffs have sought discovery to uncover the truth as to the Government’s efforts (or lack

thereof) as well as its abilities to facilitate Abrego Garcia’s return—the essential issue in this case.

Over and over, the Government has stonewalled Plaintiffs by asserting unsupported privileges—

primarily state secrets and deliberative process—to withhold written discovery and to instruct

witnesses not to answer even basic questions. Even as the Government speaks freely about Abrego

Garcia in public, in this litigation it insists on secrecy. The Supreme Court directed the Government


1
   See Cooper Decl. ¶ 2, Ex. A (President Trump interview by Kristen Welker), video at
https://www.nbcnews.com/politics/trump-administration/read-full-transcript-president-donald-
trump-interviewed-meet-press-mod-rcna203514 (at 27:13–27:24); Cooper Decl. ¶ 3, Ex. B
(President Trump interview by Terry Moran), video at https://abcnews.go.com/Politics/trump-
abrego-garcia-back-el-salvador/story?id=121298276 (at 5:46–6:06).
2
  Cooper Decl. ¶ 4, Ex. C (Secretary Noem testimony to U.S. Senate committee), video at
https://www.appropriations.senate.gov/hearings/a-review-of-the-presidents-fiscal-year-2026-
budget-request-for-the-department-of-homeland-security (at 45:48–46:33).


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“to share what it can concerning the steps it has taken and the prospect of further steps.” Id. But it

has shared almost nothing, in part because of privilege assertions this Court previously found

“specious.” ECF No. 100 at 2. That is no accident. The Secretary of State announced at a Cabinet

meeting, while seated next to the President, that he would “never tell” “a judge” whether the

Government had formally requested that El Salvador return Abrego Garcia.3

        On its face, there is little reason to believe that compliance with a court order to facilitate

the release and return of a single mistakenly removed individual so that he can get his day in court

implicates state secrets at all. No military or intelligence operations are involved, and it defies

reason to imagine that the United States’ relationship with El Salvador would be endangered by

any effort to seek the return of a wrongfully deported person who the Government admits never

should have been removed to El Salvador in the first place. The Government does not come close

to making a showing that would disturb the common sense conclusion that there are no genuine

state secrets at play here.

        First, neither the Department of Homeland Security (DHS) nor the Department of Justice

(DOJ) have lodged formal claims of privilege from their department heads based on actual

personal consideration by those officers. See United States v. Zubaydah, 595 U.S. 195, 205 (2022).

That absence is dispositive for those two agencies, so the DHS and DOJ Defendants cannot rely

on the privilege. Second, the declaration by Secretary Rubio for the Department of State fails to

show a “reasonable danger of harm to national security.” Id. This Court must review Secretary

Rubio’s assertion of the state secrets privilege “with a very careful, indeed a skeptical, eye, and

not . . . accept at face value the government’s claim or justification of privilege.” Abilt v. CIA, 848



3
   Cooper Decl. ¶ 5, Ex. D (Secretary Rubio statement at Cabinet meeting), video at
https://www.nbcnews.com/now/video/rubio-refuses-to-say-if-administration-has-asked-for-
kilmar-abrego-garcia-s-return-238636613921.


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F.3d 305, 312 (4th Cir. 2017) (citation omitted). The Rubio Declaration’s vague and boilerplate

justifications do not satisfy this exacting standard. The fact that the Government has repeatedly

publicized information—in congressional testimony, public interviews, and social media posts—

about Abrego Garcia and its unwillingness to facilitate his return confirms that answering the

requested discovery would not imperil national security. More likely, the Government’s assertion

of state secrets is consistent with an effort to avoid judicial scrutiny of its actions.

          The deliberative process privilege is likewise inapplicable, for at least three reasons. First,

the privilege does not apply where, as here, “there is reason to believe that government misconduct

has occurred.” Tri-State Hosp. Supply Corp. v. United States, 226 F.R.D. 118, 135 (D.D.C. 2005).

Second, this privilege yields where, as here, Plaintiffs have a compelling need for the discovery.

See NAACP v. Bureau of the Census, 401 F. Supp. 3d 608, 617–18 (D. Md. 2019). Third, the

Government has not carried its burden of showing that the requested discovery is deliberative and

pre-decisional, as is required for the privilege to apply. Id. at 611–17.

          In sum, the Court should hold that neither the state secrets privilege nor the deliberative

process privilege shields the Government here from answering Plaintiffs’ basic discovery requests

and deposition questions about the Government’s facilitation efforts and abilities—efforts that the

Supreme Court itself ordered the Government to share.4

                                              Background

          On April 15, following the Supreme Court’s order, this Court ordered expedited discovery

“to ascertain what, if anything, the Defendants have done to ‘facilitate Abrego Garcia’s release

from custody in El Salvador and to ensure that his case is handled as it would have been had he

not been improperly sent to El Salvador.’” ECF No. 79 at 6–7 (quoting Noem, 145 S. Ct. at 1018).



4
    Plaintiffs reserve all rights to challenge other privilege assertions by the Government.


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       Plaintiffs promptly served discovery requests, including Interrogatory Nos. 1–7 and

Request for Production of Document (RPD) Nos. 1–4, which seek discovery about the

Government’s efforts to facilitate Abrego Garcia’s release and return to the United States, and

Interrogatory Nos. 9–11 and RPD Nos. 6–8, which seek discovery about the Government’s

agreement, arrangement, or understanding with El Salvador related to Abrego Garcia’s detention

in El Salvador. ECF Nos. 98-1 & 98-2.

       In response to nearly every request, the Government raised boilerplate privilege objections.

E.g., ECF No. 98-1 at 3



                                                          ; id. at 3–17

               ; ECF No. 98-2 at 3–15                                      .

       On April 22, the Court overruled most of the Government’s objections because they

“reflect[ed] a willful and bad faith refusal to comply with discovery obligations,” relied on an

“arbitrarily cramped reading of the Court’s order,” or involved “specious” and “boilerplate”

privilege assertions. ECF No. 100 at 2–4. The Court directed the Government to supplement its

responses with “the specific legal and factual bases for each asserted privilege and produce a

privilege log that fully complies with the Federal Rules of Civil Procedure and this Court’s Local

Rules”—and warned the Government that if it did not, it would “lose the protections [it] failed to

properly invoke.” Id. at 3–4. The Court also ordered Plaintiffs to refine their requests about the El

Salvador agreement “to focus specifically on any agreement, arrangement, or understanding

between the United States and El Salvador related to the removal and confinement of Abrego

Garcia and any other individuals who were transported with him on March 15, 2025.” Id. at 6.




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       Plaintiffs served amended discovery requests later on April 22. ECF Nos. 112-1 & 112-2.

The next day, the Government moved for a stay of discovery, ECF No. 101, and the Court granted

a stay until April 30, ECF No. 103. On April 30, the Court denied a further stay and ordered the

Government to “answer and respond to all outstanding discovery requests and supplement [its]

invocation of privilege(s), consistent with the Court’s Order at ECF No. 100, by no later than

Monday, May 5, 2025.” ECF No. 107 at 1.

       On May 5, the Government served objections and responses along with a privilege log and

a state secrets declaration from Secretary of State Rubio (Rubio Declaration). ECF Nos. 112-3,

112-4, 112-5, 112-6. Once again, the Government

                                                   . See ECF No. 112-3 at 2–19

                                                              ; ECF No. 112-4 at 4–19




                                        . ECF No. 112.

       Meanwhile, Plaintiffs deposed three DHS personnel, two on April 22 (Evan Katz and

Joseph Mazzara), and a third on May 7 (Robert Cerna). At the depositions,



                                                                . See Cooper Decl. ¶ 6, Ex. E

                                         ; see also Cooper Decl. ¶¶ 7–9, Exs. F, G, H (transcripts

of depositions).




                                                                                          Cooper




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Decl. ¶ 7, Ex. F at 95:5–13, 121:12–19.



                                                                                     Cooper Decl.

¶ 8, Ex. G at 141:10–142:5.



                                       id. at 101:21–102:7,

                                                                                                  .

        Also on May 7, the Court ordered the parties to file by May 12 “formal briefing of the

Defendants’ invocations of privilege, principally the state secrets and deliberative process

privileges, as discussed in ECF No. 112,” with the briefing to address “the legal and factual bases

for the invocation of those privileges, including Plaintiff’s request for the Court to conduct in

camera review of the withheld documents.” ECF No. 115 at 1. Plaintiffs respectfully submit this

brief in accordance with the Court’s May 7 order.

                                              Argument

I.      The Court should overrule the state secrets objections.

        “The state secrets privilege permits the Government to prevent disclosure of information

when that disclosure would harm national security interests.” Zubaydah, 595 U.S. at 204. “[T]he

Government bears the burden of showing that the privilege should apply.” Id. at 209. To do so, it

must satisfy both procedural and substantive requirements. See Wikimedia Found. v. NSA/Cent.

Sec. Serv., 14 F.4th 276, 302 (4th Cir. 2021). Here, it satisfies neither.

        A.      DHS and DOJ have not properly invoked the state secrets privilege.

        To invoke the state secrets privilege, “the Government must submit to the court a ‘formal

claim of privilege, lodged by the head of the department which has control over the matter, after

actual personal consideration by that officer.’” Zubaydah, 595 U.S. at 205 (quoting United States


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v. Reynolds, 345 U.S. 1, 7–8 (1953)). The Government typically satisfies this procedural

requirement by providing “affidavits or declarations made personally by the department head.”

Sterling v. Tenet, 416 F.3d 338, 344 (4th Cir. 2005) (collecting cases).

       The Court ordered the Government to serve “the specific legal and factual bases for each

asserted privilege,” ECF No. 100 at 3–4, by “May 5, 2025,” ECF No. 107 at 1. And it cautioned

the Government that in the event of a failure to do so, it “will lose the protections [it] failed to

properly invoke.” ECF No. 100 at 3.

       Here, the only formal claim of privilege the Government has lodged is the Rubio

Declaration. By its terms,

                                                                                              Rubio

Declaration ¶ 3. Because Secretary Rubio is not the head of either DHS or DOJ, he did not (and

could not) claim state secrets privilege for those departments. And neither the head of DHS

(Secretary Noem) nor the head of DOJ (Attorney General Bondi) lodged their own claims of state

secrets privilege. The absence of declarations from Secretary Noem and Attorney General Bondi

in this case is in notable contrast to J.G.G. v. Trump, where Secretary Rubio, Secretary Noem, and

Attorney General Bondi each submitted declarations to assert state secrets for their departments.

See J.G.G. v. Trump, No. 1:25-cv-00766 (D.D.C.) at ECF No. 56-1 (Bondi declaration), ECF No.

56-2 (Rubio declaration), and ECF No. 56-3 (Noem declaration). The Government thus knew it

needed to lodge formal claims of privilege from Secretary Noem and Attorney General Bondi if it

wished to assert state secrets privileges for DHS and DOJ, but it elected not to do so in this case.

       In a recent deposition,



                                                                            Cooper Decl. ¶ 8, Ex. G




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at 80:3–15. The Government should not be permitted to deliberately ignore legal requirements and

then

         . That is particularly true where it has been warned of the need for compliance.

       “Consideration of the state secrets privilege can only proceed if the privilege was properly

invoked under the procedures described by Reynolds.” Sterling, 416 F.3d at 345. Because DHS

and DOJ deliberately chose to ignore those procedural requirements, this Court should hold that

DHS and DOJ lost “the protections they failed to properly invoke.” ECF No. 100 at 3; see also

Northrop Corp. v. McDonnell Douglas Corp., 751 F.2d 395, 400, 404–07 (D.C. Cir. 1984)

(rejecting invocation of state secrets privilege for State Department where it had not submitted a

declaration showing that its allegedly privileged materials had “been examined or considered by

the head of the department,” even while sustaining privilege for Department of Defense because

“the head of the department, Secretary of Defense Weinberger,” did submit the requisite affidavit).

       Accordingly, the Court should reject the Government’s efforts to hide behind the state

secrets privilege and compel all Defendants from DHS and DOJ to fully respond to written

discovery and all deponents from those departments to fully answer deposition questions.

       Even if DHS and DOJ had lodged formal claims of privilege, they would not support the

state secrets privilege here for the same reasons the Rubio Declaration fails to do so, as the next

section explains.

       B.      The Government has not shown reasonable danger of harm to national
               security from answering the discovery and deposition questions.

       For the privilege to apply, the Government must show “a reasonable danger of harm to

national security” from answering the requested discovery. Zubaydah, 595 U.S. at 205; accord,

e.g., FBI v. Fazaga, 595 U.S. 344, 356–57 (2022) (“when the state secrets privilege is asserted, the

central question is . . . whether its disclosure would harm national-security interests”); Wikimedia,



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14 F.4th at 302 (court “must determine, ‘from all the circumstances of the case,’ whether ‘there is

a reasonable danger that compulsion of the evidence will expose military matters which, in the

interest of national security, should not be divulged’”) (quoting Reynolds, 345 U.S. at 10).

       Under the circumstances in this case, the Rubio Declaration fails to satisfy the exacting

review the Court must apply to the Government’s assertion of state secrets privilege. This provides

yet another, independent basis for the Court to compel production of the withheld information. See

Fazaga, 595 U.S. at 357 (“[A] court considering an assertion of the state secrets privilege may

order the disclosure of lawfully obtained evidence if it finds that disclosure would not affect

national security (assuming that the information is otherwise subject to disclosure).”).

               1.      This Court must review the assertion of state secrets privilege very
                       carefully and with a skeptical eye.

       It is this Court’s obligation to evaluate an assertion of state secrets privilege “with a very

careful, indeed a skeptical, eye.” Abilt v. CIA, 848 F.3d 305, 312 (4th Cir. 2017) (quoting Al-

Haramain Islamic Found., Inc. v. Bush, 507 F.3d 1190, 1203 (9th Cir. 2007)); accord Wikimedia,

14 F.4th at 300 (“Indeed, the court stands as a gatekeeper to the privilege, and we take very

seriously our obligation to review the government’s claims with a very careful, indeed a skeptical,

eye.”) (cleaned up). During this review, the Court must not “accept at face value the government’s

claim or justification of privilege.” Abilt, 848 F.3d at 312 (quoting Al-Haramain, 507 F.3d at 1203).

       To satisfy this “very careful” review, the Government must present its privilege claim “in

sufficient detail for the court to make an independent determination of the validity of the claim of

privilege and the scope of the evidence subject to the privilege.” Mohamed v. Jeppesen Dataplan,

Inc., 614 F.3d 1070, 1080 (9th Cir. 2010) (en banc). “Simply saying ‘military secret,’ ‘national

security’ or ‘terrorist threat’ or invoking an ethereal fear that disclosure will threaten our nation is

insufficient to support the privilege.” Al-Haramain, 507 F.3d at 1203.



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        This scrutiny reflects a “compromise.” Reynolds, 345 U.S. at 9. “[I]n assessing the

Government’s claim that disclosure may harm national security, courts must exercise the

traditional reluctance to intrude upon the authority of the Executive in military and national

security affairs.” Zubaydah, 595 U.S. at 205 (cleaned up). But at the same time, the Supreme

Court’s “precedents, old and new, make clear that concerns of national security and foreign

relations do not warrant abdication of the judicial role.” Holder v. Humanitarian L. Project, 561

U.S. 1, 34 (2010). The Judicial Branch—not the Executive Branch—“must determine whether the

circumstances are appropriate for the claim of [state secrets] privilege” because “[j]udicial control

over the evidence in a case cannot be abdicated to the caprice of executive officers.” Zubaydah,

595 U.S. at 205 (quoting Reynolds, 345 U.S. at 8, 9–10). A very careful and skeptical review of

assertions of the state secrets privilege is thus “vital to protect against the ‘intolerable abuses’ that

would follow an ‘abandonment of judicial control.’” Abilt, 848 F.3d at 312 (quoting Reynolds, 345

U.S. at 8); see also Ellsberg v. Mitchell, 709 F.2d 51, 58 (D.C. Cir. 1983) (“To ensure that the state

secrets privilege is asserted no more frequently and sweepingly than necessary, it is essential that

the courts continue critically to examine instances of its invocation.”).

        The precise level of scrutiny that a court applies to test an assertion of state secrets privilege

depends on the particular facts of the case. Heightened scrutiny is warranted here for two reasons.

        First, “[t]he degree to which . . . a reviewing court should probe” the Government’s

assertion of privilege “depends in part on the importance of the assertedly privileged information

to the position of the party seeking it.” Wikimedia, 14 F.4th at 302 (quoting El-Masri v. United

States, 479 F.3d 296, 305 (4th Cir. 2007)). “Where there is a strong showing of necessity, the claim

of privilege should not be lightly accepted.” Zubaydah, 595 U.S. at 205 (quoting Reynolds, 345

U.S. at 11). “A ‘showing of need’ . . . consists of a demonstration that the information is relevant




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to a material aspect of the litigant’s case and that the litigant is unable to obtain the crucial data (or

adequate substitute) from any other source.” Ellsberg, 709 F.2d at 59 n.37.

        Here, Plaintiffs have great need for the requested discovery. The Supreme Court already

directed the Government “to share what it can concerning the steps it has taken and the prospect

of further steps.” Noem, 145 S. Ct. at 1018. Plaintiffs’ requested discovery about the Government’s

efforts to facilitate Abrego Garcia’s return goes to “the steps it has taken.” And discovery about

the Government’s agreement to detain Abrego Garcia in El Salvador goes to “the prospect of

further steps.” Abrego Garcia (and other detainees) are confined in El Salvador “pending the

United States’ decision on their long-term disposition,” ECF No. 31 at 11 (citation omitted), so

information about the agreement goes to the prospect of the Government exercising its contractual

rights “to secure and transport [its] detainees, Abrego Garcia included,” back to the United States,

id. at 12. This discovery is essential to achieving the remedy Plaintiffs seek in this case and

fulfilling the orders of the Supreme Court and this Court that the Government is “to ‘facilitate’

Abrego Garcia’s release from custody in El Salvador and to ensure that his case is handled as it

would have been had he not been improperly sent to El Salvador.” Noem, 145 S. Ct. at 1018.

Indeed, this Court has already ruled that this discovery is relevant and that Plaintiffs are entitled to

it, see ECF Nos. 79 & 100, not least because Abrego Garcia is suffering irreparable harm “every

minute he is in El Salvador,” Abrego Garcia v. Noem, 2025 WL 1021113, at *6 (4th Cir. Apr. 7,

2025) (Thacker, J., concurring, joined by King, J.); see ECF No. 31 at 20–21. And the Government

has not pointed to any alternative source from which Plaintiffs could obtain this discovery.

        Second, “skepticism” of the Government’s assertion of state secrets privilege “is all the

more justified in cases that allege serious government wrongdoing,” as such allegations “heighten

the risk that government officials may be motivated to invoke the state secrets doctrine . . . by a




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desire to protect themselves or their associates from scrutiny.” Mohamed, 614 F.3d at 1085 n.8.

Here, the Government “acknowledges that Abrego Garcia was subject to a withholding order

forbidding his removal to El Salvador, and that the removal to El Salvador was therefore illegal.”

Noem, 145 S. Ct. at 1018; accord Abrego Garcia v. Noem, 2025 WL 1135112, at *1 (4th Cir. Apr.

17, 2025) (“[T]he government has conceded that Abrego Garcia was wrongly or ‘mistakenly’

deported.”). This undisputed serious government wrongdoing justifies exacting review of the

Government’s assertions that it is invoking state secrets privilege to protect national security rather

than to shield its misdeeds from scrutiny. The fact that the Government has apparently suggested

to this Court—belatedly, and in sealed ex parte communications—that it was working to secure

Abrego Garcia’s return, see ECF Nos. 101 & 104, even as senior officials from the President on

down were saying precisely the opposite to the American public, underscores the skepticism that

should be accorded the Government’s attempts to hide behind the state secrets privilege.

               2.      The Rubio Declaration does not show that the privilege applies here.

       Applying this exacting scrutiny, the Rubio Declaration fails to satisfy the Government’s

burden of “establish[ing] ‘that there is a reasonable danger that compulsion of the evidence [at

issue] will expose . . . matters which, in the interest of national security, should not be divulged.’”

Zubaydah, 595 U.S. at 209 (quoting Reynolds, 345 U.S. at 10).




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412 (C.I.T. 1983), vacated on other grounds by 7 C.I.T. 117 (Mar. 27, 1984); accord In re Grand

Jury Subpoena Dated Aug. 9, 2000, 218 F. Supp. 2d 544, 559 (S.D.N.Y. 2002). The leading

decisions of the Supreme Court and Fourth Circuit applying state secrets privilege all involved

military or intelligence secrets. See, e.g., Zubaydah, 595 U.S. at 212 (“existence (or nonexistence)

of a CIA facility in Poland”); Reynolds, 345 U.S. at 10 (Air Force’s “secret electronic equipment”

for a “military plane”); Wikimedia, 14 F.4th at 302 (“operational details of” NSA “intelligence

operations”); Abilt, 848 F.3d at 314–15 (“specific CIA programs,” “identities of certain CIA

officers,” and other intelligence information); El-Masri, 479 F.3d at 309 (“how the CIA organizes,

staffs, and supervises its most sensitive intelligence operations”); Sterling, 416 F.3d at 345–46

(“CIA sources and methods”); Fitzgerald v. Penthouse International, Ltd., 776 F.2d 1236, 1242

(4th Cir. 1985) (Navy’s “top secret marine mammal weapons system”).

        Here, Secretary Rubio does not claim that answering Plaintiffs’ questions about Abrego

Garcia would endanger classified weapons systems or other military secrets, nor does he claim

that it will expose classified CIA operations or other intelligence secrets. This Court did once

accept an assertion of state secrets privilege over foreign communications where no military or

intelligence issues were at stake—back in 1956, where the requested discovery concerned the

extremely sensitive foreign policy question of whether the United States would recognize

“Communist China.” Rep. of China v. Nat’l Union Fire Ins. Co., 142 F. Supp. 551, 556 (D. Md.

1956). Needless to say, the materials sought in this case about the Government’s efforts and

abilities to facilitate a single individual’s return to the United States, after he was illegally removed,

do not “in any way approach[] that level of sensitivity.” U.S. Steel, 578 F. Supp. at 412 (rejecting

assertion of state secrets privilege over communications between the United States and Brazil

pertaining to international trade); see also Republic Steel Corp. v. United States, 538 F. Supp. 422,




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423 (C.I.T. 1982) (same for communications between the United States and Romania), vacated on

other grounds by 5 C.I.T. 1 (Jan. 6, 1983).

       Indeed, Secretary Rubio does not even claim that the non-military, non-intelligence, non-

major-foreign-policy information that Plaintiffs seek is classified. And classification alone is not

sufficient for the state secrets privilege to apply. See Abilt, 848 F.3d at 312 n.5 (“[A]n executive

decision to classify information is insufficient to establish that the information is privileged.”)

(quoting Mohamed, 614 F.3d at 1082). But it is likely a necessary condition. See J.G.G. v. Trump,

--- F. Supp. 3d ----, 2025 WL 1119481, at *21 (D.D.C. Apr. 16, 2026) (“Defendants . . . have

identified no case in which unclassified material was nonetheless protected by the privilege.”).

       Rather than claim harm to military or intelligence capabilities or to a major foreign

relations issue like recognizing Communist China,




         . Perhaps discovery would show that the United States represented to El Salvador that it

would send only convicted criminals, see ECF No. 31 at 5–6 (“El Salvador’s President, Nayib

Bukele, has publicly touted the agreement terms: ‘We are willing to take in only convicted

criminals . . . in exchange for a fee.’”),6 when in fact “Abrego Garcia has not been convicted of

any crime,” id. at 6 n.8. Perhaps discovery would reveal that, despite the orders of the Supreme

Court and this Court to facilitate Abrego Garcia’s return, see Noem, 145 S. Ct. at 1018, the United



6
 See also, e.g., Cooper Decl. ¶ 10, Ex. I at 3 (Behind Trump’s Deal to Deport Venezuelans to El
Salvador’s Most Feared Prison) (“As part of the agreement with the Trump administration, Mr.
Bukele had agreed to house only what he called ‘convicted criminals’ in the prison.”).


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States has represented to El Salvador that he need not be returned, hence Defendant Secretary

Noem’s public testimony on May 8 that “there is no scenario where Abrego Garcia will be in the

United States again.” Cooper Decl. ¶ 4, Ex. C. Or perhaps it would expose other mistaken or

questionable representations by the United States to El Salvador.

       Whatever it may be, the state secrets privilege is not for hiding governmental blunders or

malfeasance. When read “with a very careful, indeed a skeptical, eye,” Abilt, 848 F.3d at 312

(citation omitted), all that the Rubio Declaration indicates is that the Government is either seeking

to avoid embarrassment or potentially covering up its defiance of court orders. But the state secrets

privilege exists “to protect national security,” not to protect “government officials . . . or their

associates from scrutiny” for mistaken representations or wrongdoing. Mohamed, 614 F.3d at 1085

n.8; see also Hepting v. AT & T Corp., 439 F. Supp. 2d 974, 996 (N.D. Cal. 2006) (“[I]f the

government has not been truthful, the state secrets privilege should not serve as a shield for its

false public statements.”). Nothing in the Rubio Declaration shows that answering discovery

requests about the Government’s efforts and abilities to facilitate the return of a single individual

rises to the level of posing a “reasonable danger of harm to national security.” Zubaydah, 595 U.S.

at 205. This information is not a state secret but instead just represents what the Government is or

is not doing to comply with orders of the Supreme Court and this Court.

       Over and over again, official statements by the Government—in congressional testimony,

television interviews, and social media—confirm that producing this information would not

imperil national security. The state secrets privilege “allows the Government to bar the disclosure

of information that, were it revealed, would harm national security.” Zubaydah, 595 U.S. at 199

(emphasis added). In Zubaydah, the Supreme Court held that the privilege could apply to

information “made public through unofficial sources”—as distinct from official sources—because




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there can be a material difference between official and unofficial acknowledgement of a fact. Id.

at 207–08. Here, over the past several weeks, the Government has officially and repeatedly

discussed its opposition to Abrego Garcia’s return, so it cannot now claim that such information is

a state secret. Rather than “steadfastly refus[ing] to confirm or deny the accuracy of public

speculation,” id. at 208, about its efforts to facilitate Abrego Garcia’s release from custody in El

Salvador, the Government has publicly and prominently discussed its efforts. For example:

       On April 16, Defendant Attorney General Bondi stated7:
              He is not coming back to our country. President Bukele said he was
              not sending him back. That’s the end of the story. If he wanted to
              send him back, we would give him a plane ride back. . . . But he’s
              from El Salvador. He’s in El Salvador, and that’s where the president
              plans on keeping him.

       On April 18, the official White House account posted that “he’s NOT coming back”8:




7
  Cooper Decl. ¶ 11, Ex. J (Bondi says mistakenly deported man ‘not coming back to our country’),
video at https://thehill.com/homenews/administration/5251491-pam-bondi-kilmar-abrego-garcia-
return/ (at 0:34–1:01).
8
  Cooper Decl. ¶ 12, Ex. K (White House post on X).


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        On April 25, President Trump stated in a public interview9:

                [Q] Have you asked President Bukele to return him?

                [President Trump] I haven’t, uh, he said he wouldn’t.

                [Q] Did you ask him?

                [A] But I haven’t asked him positively, but he said he wouldn’t.

                [Q] But if you haven’t asked him, then how are you facilitating his
                release?

                [A] Well, because I haven’t been asked to ask him by my attorneys.
                Nobody asked me to ask him that question, except you.

                ...

                [Q] You could fix this simply by bringing him back and going
                through the legal process—

                [A] But I leave that decision to the lawyers. At this moment, they
                just don’t want to do that. They say we’re in total compliance with
                the Supreme Court.

        On April 29, President Trump stated in a public interview10:

                [Q] You could get him back. There’s a phone on this desk.

                [President Trump] I could.

                [Q] You could pick it up, and with all—

                [A] I could.

                [Q] —the power of the presidency, you could call up the president
                of El Salvador and say, ‘Send him back right now.’

                [A] And if he were the gentleman that you say he is, I would do that.
                But he’s not.

                [Q] But the Court has ordered you to facilitate his release.



9
 Cooper Decl. ¶ 13, Ex. L at 12–13 (Donald Trump’s ‘100 Days’ Interview With TIME).
10
    Cooper Decl. ¶ 3, Ex. B (President Trump interview by Terry Moran), video at
https://abcnews.go.com/Politics/trump-abrego-garcia-back-el-salvador/story?id=121298276 (at
5:46–6:06).


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                [A] I’m not the one making this decision. We have lawyers that don’t
                want to do this.

        On May 2, the official DHS account posted that Abrego Garcia “will never be allowed to
         return to the United States.”11

        Also on May 2, the official DHS account posted that Abrego Garcia “will not return to our
         country under the Trump Administration.”12

        On May 4, President Trump stated in a public interview13:

                [Q] Just to put a fine point on this, do you have the power to bring
                Abrego Garcia back as the Supreme Court has ordered?

                [President Trump] Well, I have the power to ask for him to come
                back if I’m instructed by the attorney general that it’s legal to do so.
                But the decision as to whether or not he should come back will be
                the head of El Salvador.

                ...

                [Q] Is anyone in your administration right now in contact with El
                Salvador about returning Abrego Garcia to the United States?

                [A] I don’t know. You’d have to ask the attorney general that
                question.

        On May 8, Defendant Secretary Noem testified in a Senate hearing14:

                [Senator Murphy] I assume you have read the Supreme Court
                decision in the case of Kilmar Abrego Garcia?

                [Secretary Noem] Yes.

                [Q] That Court decision requires the Administration to facilitate
                Kilmar Abrego Garcia’s release from El Salvador. Can you describe
                the steps that you have taken to facilitate this release and specifically



11
   Cooper Decl. ¶ 14, Ex. M (DHS post 1 on X).
12
   Cooper Decl. ¶ 15, Ex. N (DHS post 2 on X).
13
    Cooper Decl. ¶ 2, Ex. A (President Trump interview by Kristen Welker), video at
https://www.nbcnews.com/politics/trump-administration/read-full-transcript-president-donald-
trump-interviewed-meet-press-mod-rcna203514 (at 27:13–27:24, 30:23–30:35).
14
   Cooper Decl. ¶ 4, Ex. C (Secretary Noem testimony to U.S. Senate committee), video at
https://www.appropriations.senate.gov/hearings/a-review-of-the-presidents-fiscal-year-2026-
budget-request-for-the-department-of-homeland-security (at 45:48–46:33).


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                can you answer as to whether you have reached out to your
                counterpart in El Salvador to facilitate Mr. Abrego Garcia’s release?

                [A] Abrego Garcia is a citizen of El Salvador and should never have
                been in this country and will not be coming back to this country.
                There is no scenario where Abrego Garcia will be in the United
                States again.

         Both the United States and El Salvador have also officially discussed their agreement in

which the United States pays El Salvador to house its detainees for one year. For example:

        On February 3, the official account of President Bukele posted that El Salvador “offered
         the United States of America the opportunity to outsource part of its prison system,” and
         that El Salvador was “willing to take in only convicted criminals (including convicted U.S.
         citizens) into our mega-prison (CECOT) in exchange for a fee.”15

        Also on February 3, Secretary Rubio publicly announced an agreement with El Salvador
         in which President Bukele “agreed to accept for deportation any illegal alien in the United
         States who is a criminal from any nationality, be they MS-13 or Tren de Aragua and house
         them in his jails.”16

        On March 28, Secretary Rubio stated in a public interview: “I can tell you . . . that the
         agreement to house criminal aliens was reached with President Bukele back in
         February. . . . And so we spoke—I’ve spoken to him since then, but obviously this—those
         days that I was there we did because we had a couple of open questions that we wanted
         answers to and that he wanted answers to, and we were finalizing that.”17

         Given this extensive official public record that the Government has created about its efforts

to facilitate—or not to facilitate—Abrego Garcia’s return to the United States, as well as its

agreement with El Salvador to house detainees, Secretary Rubio’s assertion of state secrets

privilege over these topics cannot be credited. See Burks v. Islamic Republic of Iran, 2020 WL

13303322, at *11 (D.D.C. Aug. 21, 2020) (rejecting assertion of state secrets privilege because the

topic at issue “has long been a matter of official public record”); Rahman v. Chertoff, 2008 WL




15
   Cooper Decl. ¶ 16, Ex. O (Bukele post 1 on X); see also ECF No. 31 at 5–6, 11–12.
16
   Cooper Decl. ¶ 17, Ex. P (Department of State press release).
17
   Cooper Decl. ¶ 18, Ex. Q at 13 (Secretary Rubio remarks to press).


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4534407, at *6 (N.D. Ill. Apr. 16, 2008) (rejecting assertion of state secrets privilege where the

“factual backdrop” already revealed the alleged state secret).

       C.      If there is any privileged information, it can and should be separated.

       Because the state secrets privilege “may not be used to shield any material not strictly

necessary to prevent injury to national security,” Abilt, 848 F.3d at 312 n.5 (quoting Ellsberg, 709

F.2d at 57), it follows that, “whenever possible, sensitive information must be disentangled from

nonsensitive information to allow for the release of the latter,” Ellsberg, 709 F.2d at 57. So, for

example, in Heine v. Raus, the Fourth Circuit affirmed a district judge’s handling of a deposition

of a CIA agent, which was held in the presence of the judge, who “ruled upon each question calling

for information arguably within the [state secrets] privilege, requiring [the deponent] to answer

those which the Court thought would not impair the privilege while foreclosing answers to those

questions which apparently would.” 399 F.2d 785, 788 (4th Cir. 1968).

       Thus, if the Court were to find that any of the discovery or deposition testimony Plaintiffs

seek is privileged, it should order the Government to separate out the privileged information and

provide the remaining non-privileged information.

II.    The Court should overrule the deliberative process objections.

       The Court should reject the Government’s assertion of deliberative process privilege for at

least three reasons. First, the deliberative process privilege does not apply where, as here, “there

is reason to believe that government misconduct has occurred.” Tri-State Hosp. Supply Corp. v.

United States, 226 F.R.D. 118, 135 (D.D.C. 2005). Indeed, this privilege “disappears altogether

when there is any reason to believe government misconduct occurred.” In re Sealed Case, 121 F.3d

729, 746 (D.C. Cir. 1997); see also id. at 738 (“[W]here there is reason to believe the [information]

sought may shed light on government misconduct, ‘the privilege is routinely denied,’ on the




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grounds that shielding internal government deliberations in this context does not serve ‘the public’s

interest in honest, effective government.’”).

       Second, even assuming the deliberative process privilege applies, the privilege is overcome

where, as here, Plaintiffs have a compelling need for the discovery. NAACP v. Bureau of the

Census, 401 F. Supp. 3d 608, 617–18 (D. Md. 2019). Courts consider several factors in this

analysis, including: (1) the relevance of the evidence; (2) the availability of alternative evidence;

(3) the government’s role in the litigation; and (4) “the extent to which disclosure would hinder

frank and independent discussion regarding contemplated policies and decisions.” Id. at 617.

       The Court has already ruled that the discovery Plaintiffs seek about the Government’s

facilitation efforts and abilities is relevant. See ECF Nos. 79 & 100. The requested information is

also solely within the control of the Government, which has not pointed to any alternative sources.

Nor has the Government put in any evidence to support a showing that disclosure would chill any

frank discussion or deliberation by the Government. The Court ordered the Government to submit

“the specific legal and factual bases for each asserted privilege,” ECF No. 100 at 3–4, by “May 5,

2025,” ECF No. 107 at 1. By failing to submit any declaration or other evidence providing factual

support for its assertion of deliberative process privilege, the Government has “los[t] the

protections [it] failed to properly invoke.” ECF No. 100 at 3.

       Third, the Government has not carried its burden of showing the requested discovery is

deliberative and pre-decisional. Deliberative process privilege protects only those “documents that

reflect an agency’s preliminary thinking about a problem, as opposed to its final decision about it.”

FWS v. Sierra Club, Inc., 592 U.S. 261, 266 (2021). To qualify as privileged, the document must

be both pre-decisional (“generated prior to the agency’s final decision on the matter”) and




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deliberative (“prepared to help the agency formulate its position”). Empower Oversight

Whistleblowers & Rsch. v. NIH, 122 F.4th 92, 105 (4th Cir. 2024).

       As noted above, the Government has not submitted any declaration or other evidence

justifying its assertion of the deliberative process privilege. And its assertions of the privilege in

particular instances appear on their face to be improper. To take one example,



                                                                . See Cooper Decl. ¶ 19, Ex. R. The

Government has not explained what, if anything, in the document is deliberative, and what final

decision this document preceded. Because the Government has failed to show the information it

seeks to shield is both pre-decisional and deliberative, the Court should reject the assertion of the

deliberative process privilege. See NAACP, 401 F. Supp. 3d at 611–17.

III.   The Court can review ostensibly privileged materials in camera.

       For the reasons above, the Court can reject the Government’s assertions of the state secrets

and deliberative process privileges based on the papers already submitted. But if the Court

nonetheless believes the question is close, then it can and should review in camera the allegedly

privileged information to confirm that it is not protected by these privileges.

       Courts may review in camera materials that one party contends are privileged and another

party contends must be produced. See, e.g., United States v. Zolin, 491 U.S. 554, 556 (1989) (in

camera review for crime-fraud challenges to privileged materials); United States v. Abu Ali, 528

F.3d 210, 245 (4th Cir. 2008) (“Evidentiary privileges . . . may be tested by in camera and ex parte

proceedings before the court for the limited purpose of determining whether the asserted privilege

is genuinely applicable.”) (cleaned up). Generally, it is up to this Court’s sound “discretion”

whether “to conduct an in camera review of documents claimed to be privileged or protected.”

Hall v. Baltimore Police Dep’t, 2025 WL 1024069, at *1 (D. Md. Mar. 31, 2025) (cleaned up).


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       Consistent with that general rule, courts are empowered to review in camera materials

allegedly protected by the deliberative process privilege. See, e.g., Rein v. U.S. Patent &

Trademark Office, 553 F.3d 353, 368 (4th Cir. 2009) (discussing when in camera review is

appropriate); Ayyad v. IRS, 2018 WL 704849, at *11 (D. Md. Feb. 2, 2018) (Xinis, J.) (same); see

also Solers, Inc. v. IRS, 827 F.3d 323, 328–30 (4th Cir. 2016) (affirming in camera review).

       In camera review is likewise available to evaluate assertions of the state secrets privilege.

The Fourth Circuit has held that, “[i]n some situations, a court may conduct an in camera

examination of the actual information sought to be protected, in order to ascertain that the criteria

[for state secrets privilege] set forth in Reynolds are fulfilled.” El-Masri, 479 F.3d at 305. The

Supreme Court confirmed that point in Zubaydah. There, the Court held that “in camera review is

not always required.” 595 U.S. at 205–06. But eight Justices explicitly agreed in various opinions

that in camera review is available in some situations.18

       While the Fourth Circuit has not prescribed a precise test for when in camera review should

occur, it has indicated that in camera review is appropriate—and potentially even required—in

cases where (1) the party seeking disclosure has a strong need for the evidence and (2) the alleged

threat to national security is unclear. See Sterling, 416 F.3d at 345 (“There may of course be cases

where the necessity for evidence is sufficiently strong and the danger to national security




18
   See Zubaydah, 595 U.S. at 212 (plurality opinion of Breyer, J., joined by Roberts, C.J.,
Kavanaugh, J., and Barrett, J.) (“It is true that sometimes a court must personally review the
evidence at issue in order to assess the Government’s assertion of the state secrets privilege.”); id.
at 220 (concurring opinion of Thomas, J., joined by Alito, J.) (“in camera review” is available as
“‘a last resort’”) (citation omitted); id. at 233 (concurring opinion of Kavanaugh, J., joined by
Barrett, J.) (“If the requester has demonstrated a ‘strong’ need for the information, the court may
under certain circumstances review the requested documents in camera to confirm that the
information falls within the privilege.”); id. at 254 (dissenting opinion of Gorsuch, J., joined by
Sotomayor, J.) (“when assessing a state secrets claim courts may—and often should—review the
evidence supporting the government’s claim of privilege in camera”).


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sufficiently unclear that in camera review of all materials is required to evaluate the claim of

privilege.”); see also ACLU v. Brown, 619 F.2d 1170, 1173 (7th Cir. 1980) (en banc) (“[A] party’s

showing of need often compels the district court to conduct an in camera review of documents

allegedly covered by the privilege in order to determine whether the records are properly classified

‘secret’ by the Government. Any other rule would permit the Government to classify documents

just to avoid their production even though there is need for their production and no true need for

secrecy.”). Conducting in camera review at least when those two elements are met is consistent

with the views of a majority of the Justices in Zubaydah. There, four Justices opined that in camera

review, while appropriate in some cases, was not warranted in that case because the two elements

identified by Sterling were not satisfied, namely (1) Zubaydah had little need for the discovery,

and (2) the Government’s affidavit from the CIA Director by itself made clear the danger to

national security. Zubaydah, 595 U.S. at 212–13 (plurality opinion). Implicit in that ruling is that

in camera review would be appropriate if those two elements had been met. Two other Justices

took the even broader view that courts “often should” review evidence in camera, potentially even

in cases where both of those elements are not met. Id. at 254 (Gorsuch, J., dissenting).

       As explained above, Plaintiffs satisfy both of those elements. They have great need for the

information the Government is withholding under the state secrets privilege. See Section II.B.1,

above. And the Government’s expansive claim of state secrets privilege here is suspect and unclear.

See Sections II.B.2, above. Accordingly, if the Court believes the applicability of the state secrets

or deliberative process privileges to be a close question, then the Court can and should review in

camera the information the Government is withholding based on those privileges.

                                            Conclusion

       For the reasons set forth above, the Court should reject the Government’s assertions of the

state secrets and deliberative process privileges.


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Dated: May 12, 2025

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